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                   UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS
______________________________
                               )
UNITED STATES OF AMERICA       )
                               )
     v.                        )    19-cr-10017-IT-9
                               )
PETER JAN SARTORIO,            )
                               )
     Defendant.                )
______________________________)


      DEFENDANT PETER JAN SARTORIO’S SENTENCING MEMORANDUM

     For the reasons presented herein, Peter Jan (“PJ”) Sartorio

respectfully requests that the Court sentence him to a one-year

term of probation, with 250 hours of community service as a

special condition of probation, and a fine of $9,500.

     A.      The Sentencing Framework

     The Presentence Investigation Report, dated October 4, 2019

(the “PSR”), properly calculates Mr. Sartorio’s guideline

sentencing range as 0-6 months, based on a total offense level

of 5 and a criminal history category of I.            PSR ¶¶ 59, 64.       As

in all sentencing proceedings, this Court must fashion a sentence

that is “sufficient, but not greater than necessary” to serve

the enumerated statutory goals.         18 U.S.C. § 3553(a).       Among

other things, the Court should consider the nature and extent of

the defendant’s particular role in the offense; his individual

circumstances; sentences imposed and to be imposed on similarly

situated individuals; specific and general deterrence; and the
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likelihood of recidivist behavior.           Id.   In the circumstances of

this case, the defense respectfully submits that a sentence of

one year of probation, a $9,500 fine, and 250 hours of community

service is “sufficient, but not greater than necessary” to serve

§ 3553(a)’s sentencing goals.1

      B.      Personal Background

      PJ Sartorio is 54 years old.          He was born in San Francisco,

CA, to Peter Anthony Sartorio and Inga-Lill (“Inky”) Sandelin

(now Amoroso).       Mr. Sartorio’s parents separated when he was 12

years old.      Both have remarried and Mr. Sartorio maintains a

close relationship with his parents, stepparents, and

stepsiblings.       Mr. Sartorio had a healthy, middle-class

upbringing.       PSR ¶¶ 69-70.     Mr. Sartorio and his wife, Tracy,

have been married since 1996 and maintain a healthy, middle-

class lifestyle.        They have two daughters, ages 19 and 16.

Pertinent information concerning Mr. Sartorio’s family is

contained in the PSR at ¶¶ 78-84.




1
  The plea agreement provides that the government will recommend a fine of
$9,500. This amount is reasonable given Mr. Sartorio’s financial situation
relative to the other defendants. See PSR ¶ 90. Mr. Sartorio hopes that the
probation office will work collaboratively with him to devise a community
service program that will provide him the opportunity for direct, hands-on
work with underserved students, whether that entails helping with schoolwork,
coaching a sport, or something similar that the probation office deems
appropriate.


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        Mr. Sartorio is the founder of a small, natural-food

company.      Details concerning this business, and Mr. Sartorio’s

prior endeavors in the natural, specialty food business, are

contained in the PSR at ¶¶ 90-93.           As depicted in the PSR, and

the letters attached hereto as Exhibit A, Mr. Sartorio is a

small-scale entrepreneur.         He is neither rich nor famous -- and

he has no aspirations to achieve either status.                Mr. Sartorio’s

nascent, small business has struggled since his arrest in this

case and it is unclear whether it will survive.                See PSR ¶ 90.2

        Many of Mr. Sartorio’s friends, neighbors, business

associates, and family members have written letters that are

attached hereto as Exhibits A1-16.           The letters offer different

perspectives of Mr. Sartorio.          In the aggregate, the choice of

words and phrases paint a distinct picture -- “warm and caring

person,” “unpretentious and self-effacing,” “generous . . . and

good-hearted,” “kind . . . and dependable,” “empathy,”

“compassion,” “kindness,” “ability to . . . empathize,” “one of

the kindest people I know and is always caring,” “sensitive,

compassionate . . . always concerned with other people’s

feelings,” “ethical approach to business,” “generosity,” “one of

the friendliest and most endearing people we have ever met,”

“compassion,” “kindness and thoughtfulness.”



2
    See also Letters attached hereto as Exhibit A-1 and A-3.


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     C.      PJ Sartorio is Genuinely and Unequivocally Remorseful
             for Cheating on the ACT

     Mr. Sartorio was the first of the eleven defendants in this

case to go on record that he was pleading guilty.             On April 3,

2019, he filed a motion advising the Court that he intends to

plead guilty.3      The significance of this is not necessarily that

Mr. Sartorio was first but why he was first.            Mr. Sartorio was

first because he accepted from the very outset that he was

guilty, that there were no excuses, and that he alone was to

blame.     He didn’t need to review any discovery, investigate

potential loopholes, or evaluate which way the wind was blowing.

He knew instinctively that the right thing to do was take full

and unequivocal responsibility for his offense.

     Perhaps more importantly, Mr. Sartorio recognized from the

outset that the victims of his crime were the hard-working kids

and families who did not cheat on the test, and who deserved a

fair and level playing field.         Mr. Sartorio is remorseful, not

because he got caught, but because, despite his advantages in

life, he nevertheless “cut the line.”           Mr. Sartorio gets it.     He

accepts that he is solely responsible for his conduct and feels

genuine remorse for the victims of his crime.




3
  Two days later, on April 5, 2019, Gordon Caplan issued a press release
stating that he too intends to plead guilty. The others followed thereafter.


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     D.      A Probationary Sentence is Appropriate in this Case

     The guidelines, of course, specifically authorize the Court

to impose a sentence of probation for defendants, like Mr.

Sartorio, who are first-time offenders and whose guideline range

falls within Zone A.       See USSG §5B 1.1; see also §5B

(Introductory Comment) (“The Comprehensive Crime Control Act of

1984 makes probation a sentence in and of itself.”).              The

Sentencing Commission has recently amended the guidelines “as a

reminder to consider non-incarceration sentences” for non-

violent first offenders like Mr. Sartorio.            See Amendment 811,

USSG, Supplement to Appendix C (November 1, 2018).             Amendment

811 inserted a new Application Note (now Application Note 4) to

the Commentary to USSG §5C1.1, which provides as follows:

     If the defendant is a nonviolent first offender and
     the applicable guideline range is in Zone A or B of
     the Sentencing Table, the court should consider
     imposing a sentence other than a sentence of
     imprisonment, in accordance with subsection (b) or
     (c)(3). See 28 U.S.C. § 994(j). For purposes of this
     application note, a ‘nonviolent first offender’ is a
     defendant who has no prior convictions or other
     comparable judicial dispositions of any kind and who
     did not use violence or credible threats of violence
     or possess a firearm or other dangerous weapon in
     connection with the offense of conviction.

This provision implements language in 28 U.S.C §994(j), providing

that “[t]he Commission shall insure that the guidelines reflect

the general appropriateness of imposing a sentence other than




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imprisonment in cases in which the defendant is a first offender

who has not been convicted of a crime of violence.”          USSG,

Supplement to Appendix C (November 1, 2018).

     The Supreme Court recognized in Gall v. United States, 552

U.S. 38, 48-49 (2007), that probation “is not an act of

leniency” but a “substantial restriction of freedom.”           As the

Gall Court observed:

     [O]ffenders on probation are . . . subject to several
     standard conditions that substantially restrict their
     liberty. Probationers may not leave the judicial
     district, move, or change jobs without notifying, and
     in some cases receiving permission from, their
     probation officer or the court. They must report
     regularly to their probation officer, permit
     unannounced visits to their homes, refrain from
     associating with any person convicted of a felony, and
     refrain from excessive drinking. USSG §5B1.3. Most
     probationers are also subject to individual “special
     conditions” imposed by the court.

Id. (citations omitted).     See also United States v. Knights, 534

U. S. 112, 119 (2001) (“Inherent in the very nature of probation

is that probationers ‘do not enjoy the absolute liberty to which

every citizen is entitled’”)(quoting Griffin v. Wisconsin, 483

U. S. 868, 874 (1987)).

     Since Gall, courts have frequently recognized that

probation is a real sentence that serves real jurisprudential

considerations.   See, e.g., United States v. Ramos, No. 04-cr-

10275-NG (D.Mass.2008) (“Gall recognized . . . that probation is

not nothing, that there are substantial restrictions on an



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individual’s freedom in probation, that we can structure a

probationary sentence that meets all the purposes of sentencing,

and that is entirely appropriate”).4

      It is difficult to discern any significant deterrent value

to incarcerating Mr. Sartorio at this stage.           As previously

described, Mr. Sartorio genuinely and unequivocally accepts

responsibility for his crime and recognizes that the victims of

his offense are the students who took the test without seeking

unfair advantage.     Mr. Sartorio does not blame Singer, or anyone

or anything else -- he fully recognizes, without equivocation,

that he and he alone is responsible for what he did.            That self-

awareness made it easy for him to be the first defendant to

publicly state his intention to plead guilty.5

      Furthermore, unlike other defendants, Mr. Sartorio’s

offense did not include any of the aggravating factors

summarized by the government in its consolidated sentencing

memorandum -- i.e., he was not a repeat player; his

participation was passive rather than active (as defined by the


4
  See also United States v. Huffman, 19-10117-IT, Dkt. #424, at 11-17
(sentencing memorandum showing that the overwhelming majority of defendants
in the 0 to 6-month range in this district and nationally are sentenced to
non-incarceration sentences).
5
  Mr. Sartorio is also the only one of the eleven defendants whose plea
agreement contains an agreed upon GSR of 0-6 months. Ms. Huffman’s plea
agreement provides that the government takes the position that her GSR is 4-
10 months, based on a gain or loss of more than $15,000 but not more than
$40,000. See Huffman Plea Agreement, dated March 27, 2019, at 2. The
government subsequently agreed, shortly before sentencing, that it would take
the position at sentencing that Ms. Huffman’s GSR was 0-6 months.


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government); he did not involve his child in the scheme (and his

child had no knowledge of the scheme); he did not occupy a

position of trust; he did not engage in the type of conduct

attributed to other defendants by the government “as the scheme

unraveled and following its exposure;” he did not seek to “write

off” the payment to Singer for tax purposes; and, to the extent

relevant, his payment amount was the lowest of the eleven

defendants (along with that of Ms. Huffman).           See Government’s

Consolidated Sentencing Memorandum at 22-26 (describing the “Key

Factors to be Considered to Determine Relative Culpability”).6

      With the sentencings to date, the Court has perhaps sent a

deterrent message that federal prosecution can serve as a

leveler to wealth, power, and fame.         As shown in the PSR and

letters attached hereto, however, by comparison with the other

defendants in this case, no such leveling or messaging is

necessary or applicable in the case of Mr. Sartorio.             Indeed,

Mr. Sartorio’s case presents the opportunity for a different

message -- that federal sentencing is individualized and that

incarceration is not always the answer.




6
  Like Ms. Huffman, Mr. Sartorio hired Singer to provide tutoring services for
his child. In both cases, the child in question had legitimate medical
issues which would enable her to receive extra time and special
accommodations for standardized testing. See, e.g., PSR ¶¶ 82, 84. In both
cases, the defendant subsequently made the decision to pay Singer $15,000 to
assure a better outcome on the test. In neither case did the parent involve
the child in the scheme and in neither case did the child have knowledge of
the scheme.


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                               Conclusion

     For the foregoing reasons, Mr. Sartorio respectfully

requests that the Court sentence him to a one-year term of

probation, with 250 hours of community service as a special

condition of probation, and a fine of $9,500.

                                  Respectfully submitted,

                                  /s/ Peter K. Levitt _____
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Dated: October 4, 2019




                        CERTIFICATE OF SERVICE

     I, Peter K. Levitt, hereby certify that on this date,
October 4, 2019, a copy of the foregoing document has been
served via the Electronic Court Filing system on all registered
participants.

                                  /s/ Peter K. Levitt
                                  Peter K. Levitt




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